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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION


N RE:                                                               Case No. 17-18864-MAM
                                                                    Chapter 7
AA FLORIDA BRIDAL RETAIL                                            (Jointly Administered)
COMPANY, LLC, et al.,

         Debtors.
                                           /

    TRUSTEE'S RESPONSE AND LIMITED OPPOSITION TO THE PRECAUTIONARY, JOINT
     MOTION OF FORMER OFFICERS, DIRECTORS, AND EMPLOYEES OF DEBTOR FOR
       RELIEF FROM THE AUTOMATIC STAY TO ALLOW FOR ADVANCEMENT AND
      PAYMENT OF FEES AND COSTS FOR TRUSTEE DEMAND, INVESTIGATION AND
           CLAIMS UNDER DIRECTORS' AND OFFICERS' INSURANCE POLICY


         Comes now Margaret J. Smith, Chapter 7 Trustee (the "Trustee") of AA Florida Bridal

Retail Company, LLC, et al. (the "Debtors")1 by and through undersigned counsel, files this

response and limited opposition (the "Response") to the Precautionary, Joint Motion Of Former

Officers, Directors, And Employees Of Debtor For Relief From The Automatic Stay To Allow

For Advancement And Payment Of Fees And Costs For Trustee Demand, Investigation And

Claims Under Directors' And Officers' Insurance Policy (the "Stay Relief Motion") [ECF No.

275] and states as follows:

                                                Background

         1.      Debtor Alfred Angelo Newco, Inc. has an insurance policy (Private Edge Plus No.

02-420-07-93) (the "Policy") with National Union Fire Insurance Company of Pittsburgh, PA as

the insurer (the "Insurer"). The base limit of the Policy covers losses up to $3,000,000, with up

to an additional $500,000 under Side “A” coverage, which "provides reimbursement directly to

1
 The affiliated Debtors are: The Bride’s Studio No. 3, Inc.; AA Bridal, LLC; AA Bridal Northeast, LLC; AA Bridal
Midwest, LLC; AA Bridal Nebraska, LLC; Alfred Angelo Newco, Inc.; Alfred Angelo Investment China I; Alfred
Angelo Investment China III; Alfred Angelo Investment Company, Limited (Hong Kong); BridesMart, LP; DJ
Fashions, LLC; Hacienda Brides; and Zhuhai Haiping Wedding DRESS Design LTD.


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the Debtor’s directors and officers for non-indemnified loss under the D&O Coverage Section of

the Policy, including defense costs, up to the Policy limits."

         2.    The Trustee, on October 30, 2017 submitted claims to the Insurer under the Policy

alleging that Richard Anders, Vanessa McIntosh, Paul Quentel, Martin Weinberg, and Stephen J.

Czech (the "Movants"), as former officers, directors and/or employees of the Debtors engaged in

wrongful acts in their capacity as officers, directors, or employees of the Debtors.

         3.    The law firm of Carlton Field Jorden Burt, P.A ("Carlton Fields") represents

Richard Anders, Vanessa McIntosh, Paul Quentel, and Martin Weinberg, four of the five

directors and officers who the Trustee alleges engaged in wrongful acts.

         4.    The law firms of Davis Polk & Wardwell LLP ("Davis Polk") and Tripp Scott

P.A. ("Tripp Scott") together represent the other director and officer, Stephen J. Czech. Davis

Polk and Tripp Scott also represent Czech Asset Management, L.P., ("Czech") a creditor and

stakeholder in the Debtors. Movant Stephen J. Czech has an equity interest in Czech.

         5.    In the Stay Relief Motion, the Movants seek stay relief for the Insurer to advance

and/or reimburse defense costs ("Defense Costs") to the law firms defending the Movants against

the Trustee's allegations of wrongful conduct.

         6.    The Policy does not contain a cap on the Movants' entitlement to reimbursement

for their Defense Costs. Additionally, the Policy does not contain a formula for allocating the

proceeds between the various Movants and law firms. Accordingly, each dollar spent on Defense

Costs directly offsets a dollar available to compensate the Debtors' estates for the harm caused by

the Movants' wrongful conduct.

         7.    To date, litigation has not commenced in connection with the Trustee's claims

against the Movants.




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                               Relief Requested and Basis Thereof

         1.    To the extent that the Movants are entitled to reimbursement of their defense costs

from the Policy proceeds, that relief should be:

               a.      conditioned on the requirement that the Movants submit monthly
                       invoices, itemizing and describing the nature and extent of the Defense
                       Costs, with an opportunity for the Trustee, creditors, and all other parties-
                       in-interest to object;

               b.      capped at an aggregate total amount of $500,000 through the completion
                       of a pre-suit mediation that the Trustee and the Movants intend to
                       coordinate in the near future,

               c.      that any Defense Cost advanced pursuant to the Policy be apportioned
                       proportionately between Carlton Fields, Davis Polk, and Tripp Scott.
                       Meaning that because Carlton Field's represents four out of the five
                       Movants, they should be entitled to 80% of the $500,000 pre-suit litigation
                       cap ($400,000) and that Davis Polk should be entitled to 20% respectively
                       ($100,000); and

               d.      because Davis Polk and Trip Scott also represent Czech, the Trustee wants
                       both firms to maintain separate matters in their representation of these two
                       parties and that the Policy not be charged for any services to Czech.

(together the "Defense Cost Reimbursement Procedures").

         2.    The Defense Cost Reimbursement Procedures are necessary to ensure that the

Policies' proceeds are preserved to the fullest-extent possible to benefit the estates. Other

bankruptcy courts in this district have recognized the importance of such reporting and approval

procedures. For example, in Laminate Kingdom, LLC, despite determining that the proceeds of

an executive liability insurance policy, similar to the Policy, were not property of the estate,

Judge Cristol "conditioned the granting of stay relief to pay such costs upon Court approval, after

notice and hearing." In re Laminate Kingdom, LLC, 2008 WL 1766637 *5 (Bankr.S.D.Fla.

2008). There, the court required all applicants seeking reimbursement of their defense costs from

the insurance policy's proceeds to "submit monthly fee applications for Court approval"

consistent with the requirements of Rule 2016 of the Federal Rules of Bankruptcy Procedure. Id.


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           3.      Similarly, in Advanced Blast Protection, Inc.,2 numerous of the debtor's (former)

officers and directors sought authority to have their defense costs reimbursed from an executive

liability insurance policy similar to the Policy. See In re Advanced Blast Protection, Inc., ECF#s

285, 289, 311, and 321. While, as in Laminate Kingdom, Judge Olson ultimately determined that

the policy's proceeds were not property of the estate and that the movants were entitled to

reimbursement of their defense costs from those proceeds, he required the movants to comply

with the following reporting, notice, and approval procedures for all sought reimbursements:

                   a.       On or before the 10th day of each month, any person seeking payment or
                            reimbursement from the Policy must provide notice to the Committee, the
                            U.S. Trustee, the Debtor, and the Liquidating Trustee (s) (collectively, the
                            "Notice Parties"), in the form of a statement which provides (a) the
                            amount of fees requested for the prior month, (b) the relevant matter for
                            which said requested fees were incurred, and (c) the time period covered
                            for the said requested fees.

                   b.       All settlement agreements which seek to be paid out of the Policy must be
                            filed with the Court and served upon the Notice Parties no more than 5
                            days after the execution and no less than 10 days prior to any payment.

                   c.       All judgments which are sought to be paid from the Policy must be served
                            on the Notice Parties no more than 5 days after entry and no less than 10
                            days prior to payment.3

           4.      These type of procedures allow the Court to monitor Defense Costs and ensure

that they are not unduly incurred to the detriment of the estates. The Movants should be required

to comply with the similar Defense Cost Reimbursement Procedures as requested in this limited

objection.

           5.      The Movants' Defense Costs should also be capped at $500,000 for the pre-suit

mediation that the parties intend on participate in. As discussed before, the Policy is a "wasting

policy" i.e. every dollar spent of Policy proceeds is one less dollar available to (i) cover claims


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    In re Advanced Blast Protection, Inc., 09-34185-BKC-JKO, Bankr.S.D.Fla..
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    See Id. ECF#s 323, 324, 328, 343.


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that are otherwise payable to the Trustee and (ii) potentially provide direct coverage for the

various estates. Under the status quo, the Movants are operating under the perverse incentive to

maximize their individual Defense Costs at their co-Movants' and the estates' expense. See e.g.,

"Tragedy of the Commons".4 Capping Defense Costs at $500,000 while the parties attempt to

mediate and making the cap proportionate to each law firm's share of their representation of the

Movants is therefore particularly appropriate in this case.

         WHEREFORE, the Trustee respectfully requests that this Court enter an Order denying

the relief requested in the Stay Relief Motion unless and until it is determined with finality that

Defense Costs are deductible from the Policy, and if they are, that all such Defense Costs:

                 a.       Be capped at an aggregate total amount of $500,000 through the
                          completion of a pre-suit mediation that the Trustee and the Movants intend
                          to coordinate in the near future;

                 b.       That any Defense Cost advanced pursuant to the Policy be apportioned
                          proportionately between Carlton Fields, Davis Polk, and Tripp Scott.
                          Meaning that because Carlton Field's represents four out of the five
                          Movants, they should be entitled up to 80% of the $500,000 pre-suit
                          litigation cap ($400,000) and that Davis Polk should be entitled to up to
                          20% of the $500,000 pre-suit litigation cap respectively ($100,000);

                 c.       That the Movants be Required to serve monthly invoices on the Trustee,
                          consistent with Rule 2016 of the Federal Rules of Bankruptcy Procedure
                          and Local Rule 2016-1, for all sought reimbursements of Defense Costs
                          from the Policy and that the Trustee and the Office of the United States
                          Trustee be provided with an opportunity to object to the invoices;

                 d.       That Davis Polk and Trip Scott be required to maintain separate billing
                          matters in their representation of Stephen J Czech and Czech, and that the
                          Policy not be charged for any services provided Czech.




4
  Hardin, G. (1968) "The Tragedy of the Commons", Science 162 (3859): 1243-1248; "In economics, the tragedy of
the commons is the depletion of a shared resource by individuals, acting independently and rationally according to
each one's self-interest, despite their understanding that depleting the common resource is contrary to the group's
long-term best interests. Some also see the "tragedy" as an example of emergent behavior, the outcome of individual
interactions in a complex system." http://en.wikipedia.org/wiki/Tragedy_of the_commons


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                                     CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that on April 20, 2018, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served this day by transmission of Notices of Electronic Filing generated by CM/ECF to

those parties registered to receive electronic notices of filing in this case as listed in the attached

service list.



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17-18864-MAM Notice will not be electronically mailed to:

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